                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 08-0001
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 CLARENCE ROSS, III,                              RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________


                      I. INTRODUCTION AND BACKGROUND
       On January 29, 2008, a four-count Superseding Indictment was returned against the
defendant Clarence Ross, III. On March 21, 2008, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 10 of the
Superseding Indictment.     On March 21, 2008, Judge Scoles filed a Report and
Recommendation in which he recommended that defendant’s guilty plea be accepted. No
objections to Judge Scoles' Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Scoles' recommendation to accept defendant’s
plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

    Case 1:08-cr-00001-LRR-JSS        Document 111      Filed 04/07/08    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of March 21,
2008, and accepts defendant’s plea of guilty in this case to Count 10 of the Superseding
Indictment.
       IT IS SO ORDERED.
       DATED this 7th day of April, 2008.




    Case 1:08-cr-00001-LRR-JSS        Document 111       Filed 04/07/08    Page 2 of 2
